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4
     Attorneys for Plaintiff
5

6
                               IN THE UNITED STATES DISTRICT COURT
7
            NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION
8

9    APRIL COYLE,                                      Case No.: 3:16-CV-05674-WHA
10                                                     STIPULATION TO DISMISS DEFENDANT
                               Plaintiff,              BANK OF AMERICA, N.A.; PROPOSED
11                                                     ORDER
            v.
12

13
      EXPERIAN INFORMATION
14    SOLUTIONS, INC.; et. al.,
15

16
                               Defendants.
17

18

19

20

21
     TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

22          IT IS HEREBY STIPULATED by and between plaintiff April Coyle and defendant Bank

23   of America, N.A., that Bank of America, N.A. be dismissed from this action with prejudice

24   pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that each party shall bear its

25   own attorneys’ fees and costs.
26   //
27   //
28




           STIPULATION TO DISMISS DEFENDANT BANK OF AMERICA, N.A.; PROPOSED ORDER - 1
              Case 3:16-cv-05674-WHA Document 65 Filed 01/18/17 Page 2 of 2



     DATED: January 5, 2017                     Sagaria Law, P.C.
1

2                                               By:          /s/ Elliot W. Gale
                                                                      Elliot W. Gale
3
                                                Attorneys for Plaintiff
4                                               April Coyle

5
     DATED: January 5, 2017                     McGuire Woods LLP
6

7

8                                               By:          /s/ Anthony Le
9
                                                            Anthony Le
                                                Attorneys for Defendant
10                                              Bank of America, N.A.
11

12

13
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
14
     Stipulation. I hereby attest that Anthony Le has concurred in this filing.
15
     /s/ Elliot Gale
16

17

18                                            [PROPOSED] ORDER

19
             Pursuant to the stipulation of the Parties, Defendant Bank of America, N.A. is dismissed
20
     with prejudice as to plaintiff's claims only (i.e., without prejudice to any potential cross-claims
21
     that might possibly be asserted later by co-defendants against Bank of America).
22
             IT IS SO ORDERED.
23

24   DATED: January 18, 2017.
25                                                  WILLIAM ALSUP
26                                                  UNITED STATES DISTRICT JUDGE
27

28




           STIPULATION TO DISMISS DEFENDANT BANK OF AMERICA, N.A.; PROPOSED ORDER - 2
